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                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                              AMARILLO DIVISION
  IN RE:   Krisu Hospitality LLC                                                    CASE NO       19-20347-11

                                                                                   CHAPTER        11
                                                         AMENDED
                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 11/6/2019                                           Signature    /s/ Krisu Hospitality LLC
                                                                     Krisu Hospitality LLC



Date                                                     Signature
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                         Bhiren Patel
                         5 West Way Carshalt




                         Brianna Cooper
                         8004 Abbevile Ave
                         Lubbock, TX 79424



                         BW Chase Visa
                         P.O. Box 15298
                         Wilmington, DE 19850



                         Centennial Bank
                         7207 82nd st
                         Lubbock, TX 79424



                         City of Pampa
                         200 W Foster
                         Pampa, TX 79065



                         Dinesh Patel
                         2 Cyprus Pt
                         Amarillo, TX 79124



                         Direct Tv
                         P.O. Box 410347
                         Charlotte, NC 28241



                         Expedia
                         333 108th Ave NE
                         Bellevue, WA 98004



                         Farmers Insurance
                         P.O. Box 2847
                         Grand Rapids, MI 49501
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                         Govind Kaka Patel
                         1216 48th St
                         Lubbock, TX 79412



                         Gray County
                         P.O. Box 836
                         Pampa, TX 79066



                         HD Supply
                         P.O. Box 509058
                         San Diego, CA 92150



                         Internal Revenue Service*
                         Centralized Insolvency Operation
                         PO Box 7346
                         Philadelphia, PA 19101-7346


                         Kamlesh Patel
                         537-1 West River Rd
                         Palatka, FL 32177



                         Look Outdoor
                         700 N Florida St
                         Borger, TX 79007



                         LQ Chase Visa
                         P.O. Box 15298
                         Wilmington, DE 19850



                         Milan Patel
                         25 Prestwick Ln
                         Amarillo, TX 79124



                         Navin Bhakta
                         1620 S Dumas Ave
                         Dumas, TX 79029
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                         New York Life Insurance
                         6734 N Longmeadow
                         Lincolnwood, IL 60712



                         Oracle elevator
                         600 S Tyler St Ste 13
                         Amarillo, TX 79101



                         Peekay Hospitality
                         1701 S Dumas ave
                         Dumas, TX 79029



                         Peekay Refi
                         1701 Dumas Ave
                         Dumas, TX 79029



                         Popp Hutcheson
                         1301 S Mopac
                         Austin, TX 78746



                         Praful Bhakta
                         2100 N Kansa Ave
                         Liberal, KS 67901



                         Punkaj Patel
                         246 Marion Ave
                         Summerville, SC 29483



                         Raju Patel
                         5174 Brian Ln
                         Encino, CA 91436



                         Rudd F Owen
                         P.O. Box 328
                         Plainview, TX 79073
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                         Sams
                         2201 Ross Osage Dr
                         Amarillo, TX 79103



                         Sparklight Business
                         1059 Coronado Cir
                         BORGER, TX 79007



                         Texas Comptroller of Publlic Accounts
                         P.O. Box 13528
                         Austin, TX 78711



                         Texas Panhandle Regional Development Cor
                         801 Filmore Suite 205
                         Amarillo, TX 79101



                         Tim Newsom
                         1001 S Harrison St
                         Amarillo, TX 79101



                         United Supermarket
                         P.O. Box 15585
                         Canyon, TX 79015



                         US Attorney General
                         Department of Justice
                         950 Pennsylvania Ave, N.W.
                         Washington, DC 20530


                         US Attorney in Charge
                         1100 Commerce St. 3rd Floor
                         Dallas, TX 75242



                         US Small Business Administration
                         1205 Texas Ave Rm 408
                         Lubbock, TX 79401
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                         US Trustee
                         William T. Neary
                         1100 Commerce St. Rm. 976
                         Dallas, TX 75242


                         Velocity
                         7130 Spring Meadow
                         Holland, OH 43528



                         Wyndham Hotels
                         22 Sylvan Way
                         Parsippany NJ



                         Xcel Energy
                         P.O. Box 1443
                         Minneapolis, MN 55483
